               Case:21-01917-jtg      Doc #:9 Filed: 08/24/2021        Page 1 of 2




                           UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MICHIGAN

In Re:                                               Hon. John T. Gregg

AMANDA LYN SHARPE,                                   Case No. 21-01917

      Debtor.                                        Chapter 7
______________________________/

             NOTICE OF § 341 FIRST MEETING OF CREDITORS AS ZOOM
                               VIDEOCONFERENCE

         Chapter 7 Trustee, Scott A. Chernich, hereby gives notice that the § 341 First Meeting of

Creditors for AMANDA LYN SHARPE scheduled for September 17, 2021 at 11:00 a.m. will be

held at the scheduled date and time but will be conducted via Zoom videoconference and

telephone due to concerns about COVID-19/coronavirus. Debtors, creditors, counsel, and other

interested parties can join the Zoom videoconference via the link and instructions below:

         https://zoom.us/j/91665328326?pwd=bWh3TzhKdnpNUStPQml4QkFNbjBOUT09
                                   Meeting ID: 916 6532 8326
                                        Passcode: 316084
Alternatively, you may join the conference via telephone as follows:
                                       Dial: (312) 626-6799
                                   Meeting ID: 916 6532 8326
                                        Passcode: 316084
         Video participation through Zoom using the information above is preferred and strongly

recommended.


         Multiple meetings will be scheduled during the same hour. Upon being connected to the

Zoom videoconference and/or conference call, all parties must IMMEDIATELY MUTE

THEIR LINES UNTIL THEIR CASE IS CALLED by the Trustee. Parties do not need to

announce their names until their case is called.       Parties unable to connect to the Zoom
                  Case:21-01917-jtg   Doc #:9 Filed: 08/24/2021       Page 2 of 2




videoconference or the conference call should send an e-mail to schernich@fosterswift.com.

Debtors are not required to be in the same physical location as their attorneys. All meetings will

be recorded. Please contact the Trustee's Paralegal Nancy S. Robinson at (517) 371-8137 or

nrobinson@fosterswift.com with questions or concerns.


Dated: August 24, 2021                       /s/     Scott A. Chernich
                                                    Scott A. Chernich (P48893)
                                             Chapter 7 Trustee
                                             313 S. Washington Square
                                             Lansing, MI 48933
                                             (517) 371-8133; schernich@fosterswift.com

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